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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DIS'I`RICT OF VIRGINIA

Richmond Division
UNITED STATES OF AMERICA
v. Criminal No. 3:16-cr~003
STEPHEN T. CALLIS,
Petitioner.
OPINION

The petitioner, Stephen T. Callis, moves to vacate, set aside, or correct his sentence
pursuant to 28 U.S.C. § 2255. (Dk. No. 74.) In his § 2255 motion, Callis alleges four claims of
ineffective assistance of counsel. Because Callis fails to establish either (l) that his attorney’s
conduct fell below that of an objectively reasonable attorney or (2) prejudice resulting from any
of the alleged deficiencies in his counsel’s performance, the Court will deny the § 2255 motion.

I. BACKGROUND

In 2016, Callis pled guilty to a two-count indictment for (l) coercion and enticement of a
minor in violation of 18 U.S.C. § 2422(b), and (2) Sex trafficking of children in violation of 18
U.S.C. § 159l(a). Each conviction mandates, among other things, ten years to life in prison and
restitution In his plea agreement with the government and in his plea hearing before the Court,
Callis agreed that the government could prove all elements of each offense, and he affirmed that
he understood the following: (l) the penalties for violating each statute, including the minimum
and maximum terms of imprisonment and restitution; (2) any calculation of his advisory
sentencing range under the United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) by
his lawyer represented only an estimate and did not bind the Court; (3) the Presentence

lnvestigation Report (“PSR”) ultimately determined his advisory sentencing range under the

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Guidelines; and (4) the Court could impose a sentence above or below the Guidelines range.
(Dk. No. 27,1]1| l, 3, 5, 9); Plea Hr’g Tr. 12:25-13:19, l4:l7-24, 16:24-17:2, 17:13-19:2, 22:14-
23, 28:2-13, Mar. 3, 2016 (Dk. No. 60).

The PSR calculated a Guidelines range of 235-293 months based on a criminal history
category of I and an offense level of 38, which included a five-point enhancement under U.S.S.G
§4Bl.5 for a pattern of prohibited sexual conduct. (Dk. No. 49, 1111 32, 64, 65.) At the
sentencing hearing, Callis’ attorney moved for a downward variance from the Guidelines range,
arguing that the enhancement, though applicable to Callis, resulted in a sentence greater than
necessary to punish him.l Sentencing Hr’g Tr. 24:1-33:12, June 20, 2016 (Dk. No. 59). ”l`he
Court denied the downward variance motion, sentenced Callis to 240 months imprisonment, and
ordered $32,500 in restitution. 'l`he Fourth Circuit dismissed in part and affirmed in part Callis’
appeal.

Callis then filed this §2255 motion, alleging four claims of ineffective assistance of
counsel.2 'I`he bulk of his motion deals with his claim that the indictment failed to list an
essential element of the child sex trafficking count_that the victim’s age fell between fourteen

and eighteen. Callis also alleges that his attorney failed to inform him both about his eligibility

 

l For support, Callis’ attorney cited Callis’ age, remorse, desire for treatment, cooperation with
the government, and lack of criminal history.

2 Although a petitioner may bring ineffective assistance claims in a § 2255 motion regardless of
whether he could have raised them on a direct appeal, see Massaro v. United Slates, 538 U.S.
500, 504 (2003), the government contends that Callis’ arguments do not constitute ineffective
assistance claims and should be barred because he did not raise these claims on direct appeal.
Even if Callis should have brought these claims on direct appeal, the Court will nonetheless
consider them as ineffective assistance claims. Cf Lobo-Lopez v. United States, 56 F. Supp. 3d
802, 809-ll (E.D. Va. 2014) (considering the petitioner’s argument that his attorneys failed to
object to a deficient indictment as an ineffective assistance claim in a §2255 motion); Good,
2018 WL 2976984, at *3, *5-6 (analyzing the petitioner’s argument that his attorney failed to
“adequately inform him of the likely outcome of pleading guilty” as an ineffective assistance
claim in a § 2255 motion).

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for an enhancement and that he would have to pay restitution. Lastly, Callis argues that his
attorney erred by “moving for a downward departure on [his] sentence, even though he was not
eligible for such a departure alter receiving the § 4B1.5 enhancement.” (Dk. No. 76, at 12.)
II. STANDARD OF REVIEW

Under 28 U.S.C. § 2255(a), a federal prisoner may challenge the legality of his sentence
on the ground that “the sentence was imposed in violation of the Constitution or laws of the
United States.”3 28 U.S.C. § 2255(a). A prisoner can prove such a violation by demonstrating
that he received ineffective assistance of counsel in violation of the Sixth Amendment. See
Strickland v. Washington, 466 U.S. 668, 686 (1984) (“[T]he [Sixth Amendment] right to counsel
is the right to the ejfective assistance of counsel.” (emphasis added)). To succeed on an
ineffective assistance claim, the petitioner must satisfy two elements First, the petitioner must
demonstrate that his “counsel’s representation fell below an objective standard of
reasonableness.” Id. at 687-88. To satisfy this first prong_the performance prong-the
petitioner must overcome the “‘strong presumption’ that counsel’s strategy and tactics fall
‘within the wide range of reasonable professional assistance.”’ Burch v. Corcoran, 273 F.3d
577, 588 (4th Cir. 2001) (quoting Strickland, 466 U.S. at 689). Second, the petitioner must show
that “there is a reasonable probability that, but for counsel’s unprofessional errors, the result of
the proceeding would have been different.” Strickland, 466 U.S. at 694. When, as here, a
petitioner challenges a conviction entered after a guilty plea, the second prong_-the prejudice

prong-“is slightly modified” in that the petitioner “must show that there is a reasonable

 

3 “A § 2255 motion is, in essenee, a statutory federal habeas corpus action that enables a
petitioner to collaterally attack his sentence or conviction through the filing of a new proceeding,
as contrasted with a direct appeal.” Good v. United Slales, No. 2: l 7-cv-3l3, 2018 WL 2976984,
at *2 (E.D. Va. June 12, 2018), appeal docketed, No. 18-7466 (4th Cir. Dec. 3, 2018).

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probability that, but for counsel’s errors, he would not have pleaded guilty and would have
insisted on going to trial.” Hooper v. Garraghly, 845 F.2d 471, 475 (4th Cir. 1988).

Alleging ineffective assistance of counsel following a guilty plea entered during a
properly conducted Rule 11 plea colloquy requires a petitioner to overcome the “formidable
barrier” of his sworn testimony at that proceeding. United Stales v. White, 366 F.3d 291, 295-96
(4th Cir. 2004). As the Fourth Circuit has explained, “[a]bsent clear and convincing evidence to
the contrary, a defendant is bound by the representations he makes under oath during a plea
colloquy.” Fields v. Alt'y Gen. of Md., 956 F.Zd 1290, 1299 (4th Cir. 1992). Accordingly, a
“court should, without holding an evidentiary hearing, dismiss any § 2255 motion that
necessarily relies on allegations that contradict the [petitioner’s] sworn statements.” United
States v. Lemaster, 403 F.3d 216, 221-22 (4th Cir. 2005).

III. DISCUSSION
A. Sufficiem:y of the Indictment

Callis first claims that the indictment lacked an essential element as to the child sex
trafficking count, 18 U.S.C. § 1591(a), and that his counsel’s failure to object to the indictment
constituted ineffective assistance of counsel. An “indictment must include every essential
element of an offense, or else the indictment is invalid; and mere reference to the applicable
statute does not cure the defect.” United Stales v. Kz'ngrea, 573 F.3d 186, 191 (4th Cir. 2009).
Section 1591 provides in relevant part:

(a) Whoever knowingly--

(1) in or affecting interstate or foreign commerce, or within the special
maritime and territorial jurisdiction of the United States, recruits, entices,

harbors, transports, provides, obtains, advertises, maintains, patronizes, or
solicits by any means a person; or

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(2) benefits, financially or by receiving anything of value, from
participation in a venture which has engaged in an act described in
violation of paragraph (l ),

knowing, or, except where the act constituting the violation of paragraph (l) is
advertising, in reckless disregard of the fact, that means of force, threats of force,
fraud, coercion described in subsection (e)(2), or any combination of such means
will be used to cause the person to engage in a commercial sex act, or that the
person has not attained the age of 18 years and will be caused to engage in a
commercial sex act, shall be punished as provided in subsection (b).

(b) The punishment for an offense under Subsection (a) is--
(l) if the offense was effected by means of force, threats of force, fraud, or
coercion described in subsection (e)(2), or by any combination of such
means, or if the person recruited, enticed, harbored, transported, provided,
obtained, advertised, patronized, or solicited had not attained the age of 14
years at the time of such offense, by a fine under this title and
imprisonment for any term of years not less than 15 or for life; or
(2) if the offense was not so effected, and the person recruited, enticed,
harbored, transported, provided, obtained, advertised, patronized, or
solicited had attained the age of 14 years but had not attained the age of 18
years at the time of such offense, by a fine under this title and
imprisonment for not less than 10 years or for life.
18 U.S.C. § 1591(a)-(b).4 'I`hus, a conviction for child sex trafficking requires the offender to (1)
knowingly take one or more of the actions listed in § 1591(a) against another person (“victim”);
(2) know or recklessly disregard the fact that the victim is a minor and “will be caused to engage
in a commercial sex act;” and (3) affect interstate commerce, Id. § 159l(a)(2). Section 1591(b)
lists two alternative penalties for a violation of § 159l(a). If the victim is under the age of

eighteen but older than fourteen, the statute imposes a minimum of ten years imprisonment. Id.

§ 1591(b)(2). If, however, the victim has not reached the age of fourteen, the statute provides for

 

4 Congress amended § 1591 on April 11, 2018, but the relevant provisions of the current statute
do not differ from the previous version. Compare Act of Apr. 11, 2018, Pub. L. No. 115-164,
§5, 132 Stat. 1255 (2018), with Act of May 29, 2015, Pub. L. No. 114-22, Title I, §§ 108(a),
l 18(b), 129 Stat. 238, 247 (2015) (amended 2018).

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a minimum of fifteen years imprisonment. Id. § 1591(b)(1). Both punishments carry a
maximum term of life imprisonment. Id. § 1591(b)(l)-(2).

In this case, neither the indictment nor the statement of facts alleged that the victim had
in fact reached the age of fourteen but had not reached the age of eighteen. Instead, each alleged
only that Callis knew that the victim had not reached the age of eighteen.5 Callis argues that by
failing to allege that “the victim was over 14, but under 18,” the indictment lacked an essential
element, rendering it invalid. (Dk. No. 76, at 9.) According to Callis, his attomey’s failure to
object to the alleged defective indictment therefore constituted ineffective assistance of counsel.

Callis’ argument lacks merit. Section 1591(a) requires the government to prove three
elements, and § 1591(b) imposes two different mandatory minimum sentences based on the
victim’s age, 'I`he government concedes that if it had attempted to sentence Callis under
§ 1591(b)(1)~_a fifteen-year minimum_it would have had to establish the additional element
that “the defendant trafficked a person who had not attained the age of 14.” (Dk. No. 79, at 5);
see Alleyne v. United States, 570 U.S. 99, 103 (2013) (“[A]ny fact that increases the mandatory
minimum is an ‘element’ that must be submitted to the jury.” (emphasis added)); see also
Apprendi v. New Jersey, 530 U.S. 466, 483 n.lO (2000) (“[F]acts that expose a defendant to a
punishment greater than that otherwise legally prescribed [are] by definition ‘elements’ of a
separate legal offense.”).

Here, however, the government clearly proceeded under § 1591(b)(2). The plea
agreement explicitly stated that the penalties for the crime included a mandatory minimum of ten
years imprisonment, not fifteen. (Dk. No. 27, jj 1.) Moreover, establishing that the victim had

attained the age of fourteen but not the age of eighteen does not increase that minimum penalty.

 

5 The PSR, which did not exist at the time of Callis’ plea hearing, stated that Callis knew that the
victim was fifteen years old. (Dk. No. 49, ‘|l 10.)

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Accordingly, the government only had to allege the elements outlined in § 159l(a), and it did.
The indictment charged that Callis:

did knowingly recruit, entice, harbor, transport, provide, obtain, and maintain a

person, Juvenile One, in or affecting interstate . . . commerce, knowing and in

reckless disregard of the fact that the person had not attained the age of 18 years

and would be caused to engage in a commercial sex act.

(Dk. No. 14, at 1-2.) A conviction under § 159l(a) and a sentence under § 1591(b)(2) require
nothing more.6 Accordingly, the indictment suffered no deficiency.

Given the indictment’s sufficiency, Callis’ attorney did not act objectively unreasonably
by declining to object to the indictment Had Callis’ attorney objected, raising the same
argument that Callis does now, the Court would have considered the argument meritless and
rejected it, as it does now, Thus, this claim fails on both Strickland prongs-Callis’ attorney did
not act objectively unreasonably by failing to raise a meritless objection nor did that omission
prejudice Callis, See Moore v. United States, 934 F. Supp. 724, 731 (E.D. Va. 1996) (“Failure to
raise a meritless argument can never amount to ineffective assistance.”).

B. Enhancement and Restitution

Next, Callis claims that his attorney failed to inform him “that he would be eligible for
enhancement under U.S.S.G. [§] 4B1.5” and failed to “confer with Callis
regarding . . . mandatory restitution.” (Dk. No. 76, at 12.) Essentially, Callis argues that his
attorney failed to adequately inform him about the possible penalties he would face by pleading

guilty. Even if Callis’ attorney neglected to take these two actions and such neglect satisfied the

performance prong of Strz'ckland, Callis still fails on the prejudice prong.

 

6 Callis points to a Hawaii district court opinion, Um'led States v. King, in which the court
indicated that § 1591(b)(2) requires an allegation in the indictment that the victim had attained
the age of at least fourteen but not eighteen-as opposed to merely that the victim had not
attained the age of eighteen. 713 F. Supp. 2d 1207, 1209-ll (D. Haw. 2010). For the reasons
stated above, the Court finds King’s reasoning unpersuasive.

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Assuming Callis’ attorney misinformed him as to his likely sentence, the plea agreement
and the plea hearing cured any misinformation, precluding a finding of prejudice. See United
Stales v. Foster, 68 F.3d 86, 88 (4th Cir. 1995) (finding no prejudice when “any misinformation
[the petitioner] may have received from his attorney was corrected by the trial court at the Rule
11 hearing”); Good, 2018 WL 2976984, at *5 (rejecting the petitioner’s argument that he
suffered prejudice from his counsel’s misinformation about his potential sentence when the plea
agreement and the plea hearing “fully inforrned” the petitioner about those penalties). First, the
plea agreement clearly stated the penalties for each offense-a mandatory minimum
imprisonment of ten years to a maximum of life, and mandatory restitution (Dk. No. 27, 1111 1, 9
(describing the possible and mandatory penalties for the crime).) Callis affirmed his
understanding by signing the agreement. ([d. 11 13.) At the plea hearing, the Court explained the
possible penalties for each offense, and Callis affirmed under oath his understanding Plea Hr’ g
Tr. 14:17~24, 16:24-17:2.

Moreover, both in the plea agreement and at the plea hearing, Callis stated that he
understood that his attorney could not accurately predict his Guidelines range and that the PSR
ultimately determined that range, (Dk. No. 27, 11 5 (acknowledging his “understand[ing] . . .that
any estimate . . . [he] may have received from [his] counsel . . . [was only] a prediction”)); Plea
Hr’ g Tr. 12:25-13:19 (answering “yes” when asked whether he understood that any estimate
made by his attorney was only an estimate and that his Guidelines range ultimately depended on
the PSR). Lastly, Callis affirmed his understanding that the Court might impose a sentence
above or below the calculated advisory sentencing range. (Dk. No. 27, 11 5 (acknowledging that
the Court “may impose a sentence above or below the advisory sentencing range” based on the

§ 3553(a) factors)); Plea Hr’ g Tr. 17:13-19:2 (responding “yes” when asked if he understood that

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the Guidelines do not bind the Court and that a consideration of the § 3553(a) factors “can cause
[the Court] to vary upwards from the [G]uidelines, or lower from the [G]uidelines, but not below
the mandatory minimum”).

Because Callis has not provided “clear and convincing evidence” that “his
representations during his plea were untruthful or involuntary,” he “is bound by the
representations he ma[de] under oath.” Fields, 956 F.2d at 1299. Here, the record clearly
demonstrates that Callis knew that his sentence might exceed the ten-year mandatory minimum
on each count with or without the enhancement,7 that his sentence might exceed the 235- to 293-
month Guidelines range, and that each conviction provided for mandatory restitution. With that
knowledge, Callis still pled guilty, and he received a sentence within the statutory range. Callis,
therefore, cannot demonstrate that any incorrect information about the enhancement or restitution '
from his attorney prejudiced him. Because Callis cannot satisfy the second Slrickland prong, the
Court need not address the first prong. See Strickland, 466 U.S. at 697 (“[T]here is no reason for
a court deciding an ineffective assistance claim . . . to address both components of the inquiry if
the defendant makes an insufficient showing on one.”).

C. Motion for Downward Variance

Finally, Callis assigns error to his attorney’s motion for a “downward departure” at
sentencing because “he was not eligible for such a departure alier receiving
the . . . enhancement.” (Dk. No. 76, at 12.) Callis correctly points out that a § 4B1.5

enhancement precludes downward departure. See U.S. Sentencing Guidelines Manual

 

7 Callis’ argument that his attorney failed to recognize the possible application of an
enhancement does not alter the analysis. In Foster, the Fourth Circuit considered a petitioner’s
argument that he suffered prejudice because his lawyer assured him that the career offender
enhancement would not apply. 68 F.3d at 88. The Fourth Circuit rejected his argument,
reasoning that he suffered no prejudice because, as in this case, he affirmed under oath that he
understood the penalties the court set forth at the Rule l 1 hearing, curing any deficiency. Id.

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§4Al.3(b)(2)(B) (U.S. Sentencing Comm’n 2018) (stating that a “downward departure . . . is
prohibited for . . . a repeat and dangerous sex offender against minors within the meaning of
§4Bl.5”). At the sentencing hearing, however, Callis’ attorney moved for a downward
variance, not a downward departure_a fact that Callis acknowledged in another part of his
brief. (See Dk. No. 76, at 4.) Because the Sentencing Guidelines are advisory only, see United
States v. Booker, 543 U.S. 220, 258-65 (2005), a sentencing court may vary a sentence-that is,
impose a sentence outside of the Guidelines range-when “suf`ficiently compelling” justification
exists “to support the degree of variance,” United SIates v. Pauley, 511 F.3d 468, 473 (4th Cir.
2007)8

Essentially, Callis argues that his attorney erred by attempting to secure a lower sentence
for him. As explained above, because the Court may grant a variance within its discretion,
notwithstanding the Guidelines, the enhancement in no way barred Callis’ attorney from moving
for a downward variance. Thus, his attorney’s performance in attempting to secure a lower
sentence for him through an entirely appropriate vehicle did not fall “below an objective standard
of reasonableness.” S!rickland, 466 U.S. at 688. The Court need not go past the first Strickland
prong to find that this claim must fail.

IV- _C_QMI_-§M
Because the petitioner’s ineffective assistance claims fail on one or both of the Sirickland

prongs, the Court will deny the § 2255 motion,

 

8 See also Chavez-Meza v. United States, 138 S. Ct. 1959, 1963 (2018) (noting that a court “has
the legal authority to impose a sentence outside the range either because [it] ‘departs’ from the
range (as is permitted by certain Guidelines rules) or because [it] chooses to ‘vary’ from the
Guidelines by not applying them at all”); Gall v. United States, 552 U.S. 38, 49~50 (2007)
(observing that notwithstanding the Guidelines calculation, a court must first accord “both
parties an opportunity to argue for whatever sentence they deem appropriate,” and then should
“consider all of the § 3553(a) factors to determine whether they support the sentence requested
by a party”).

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An appeal may not be taken from the final order in a § 2255 proceeding unless a judge
issues a certificate of appealability (“COA”). 28 U.S.C. § 2253(c)(1)(B). Ajudge will not issue
a COA unless a petitioner makes a “substantial showing of the denial of a constitutional right.”
Id. §2253(c)(2). A petitioner satisfies this requirement only when “reasonable jurists could
debate whether (or, for that matter, agree that) the petition should have been resolved in a
different manner or that the issues presented were ‘adequate to deserve encouragement to
proceed further.’” Slack v. McDam'el, 529 U.S. 473, 475 (2000) (quoting Barefoot v. Estelle,
463 U.S. 880, 893 n.4 (1983)). No facts or law suggest that Callis is entitled to further
consideration in this matter. The Court, therefore, will deny a COA.

The Court will enter an appropriate Order.

Let the Clerk send a copy of this Opinion to all counsel of record.

 

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Date: ls M“'\v£' 2019 John A. Gibney, .lr./
Richmond, VA United Statcs Distnct e

 

 

 

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